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 4                              UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6                                                     ***

 7   UNITED STATES OF AMERICA,           )
                                         )
 8                     Plaintiff,        )                   Case No. 2:10-cr-284-RLH-PAL
                                         )
 9         vs.                           )                            ORDER
                                         )                   (Motion to Withdraw Plea–#169)
10   PATRICIA BASCOM,                    )
                                         )
11                     Defendant.        )
     ____________________________________)
12

13                  Before the Court is Defendant’s second Motion to Withdraw Plea Bargain (#169, filed

14   January 24, 2012). The Motion will be stricken for the following reasons:

15                  First, Defendant filed an identically titled Motion on January 8, 2012, so it is

16   duplicitous and unnecessary.

17                  Second, after filing the first Motion, which was 70 pages long, the Court admonished

18   Defendant’s present (and third) attorney that the Rules limited motions to 30 pages unless otherwise

19   permitted by the Court, and that he was not to file motions which exceeded the 30-page limit. This

20   Motion is also 70 pages long (with exhibits and affidavits, it consists of 231 pages) and violates the

21   Court’s Local Rules, which have the force of law, and this Court’s prior oral Order to Defendant’s

22   counsel.

23                  Finally, the vast majority of the motion and the exhibits consists of inflammatory

24   rantings about how Defendant feels she was mistreated by her prior attorney, law enforcement, and

25   the prosecuting attorneys from the beginning of the case, none of which is relevant to her statements

26   under oath or whether she understood what she was doing or saying at the time of the plea colloquy.

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 1                 IT IS THEREFORE ORDERED that Defendant’s second Motion to Withdraw Plea

 2   Bargain (#169) is STRICKEN and will not be considered.

 3                 Dated: January 25, 2012.

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 5                                                      ____________________________________
                                                        Roger L. Hunt
 6                                                      United States District Judge

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